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                           IN THE UNITED STATES DISTRICT COURT
                             FOR SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


 COUNTY OF HARRIS, TEXAS,

                            Plaintiffs,

 v.                                                                       Civil Action No. 4:19-cv-04994

 ELI LILLY AND COMPANY, ET AL.

                            Defendants.


  AGREED MOTION FOR CONTINUANCE OF RESPONSIVE FILING DEADLINES
      AND SUBMISSION OF PROPOSED RULE 16 SCHEDULING ORDER

          Plaintiff County of Harris, Texas, and Defendants1 (collectively, the “Parties”), pursuant

to Paragraph 4 of Judge Miller’s Court Procedures, move for a continuance of the responsive filing

deadlines associated with Plaintiff’s First Amended Complaint and the submission date of the

Parties’ proposed Rule 16 Scheduling Order and respectfully state:

          1.      In light of the substantial disruptions created by the COVID-19 pandemic, the

Parties have agreed to the following regarding service of Plaintiff’s First Amended Complaint, the

responsive filing deadlines associated with the same, and the commencement of discovery in this

action:

               a. Plaintiff’s First Amended Complaint, ECF No. 20, was filed on January 31, 2020,
                  and includes claims under the Texas Deceptive Trade Practices Act (“DTPA”).
                  TEX. BUS. & COMM. CODE §§ 17.41-.63.

               b. Counsel for Defendants accepted service of process of the First Amended
                  Complaint on behalf of their respective clients without waiver of any defenses,

1
  Defendants are as follows: Eli Lilly and Company, Novo Nordisk, Inc., Sanofi-Aventis U.S., Express Scripts Holding
Company, Express Scripts, Inc., ESI Mail Pharmacy Services, Inc., Express Scripts Pharmacy, Inc., CVS Health
Corporation, Caremark Rx, LLC, Caremark LLC, Caremark Texas Mail Pharmacy, LLC, Optum, Inc., OptumRx Inc.,
Aetna Rx Home Delivery, LLC, and Aetna Pharmacy Management Services.
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                including those relating to personal jurisdiction and venue, and with the express
                reservation of the right to contest whether any party in the First Amended
                Complaint is properly named.

             c. Defendants’ responsive fillings to the First Amended Complaint, including answers
                and motions to dismiss filed under Federal Rule of Civil Procedure 12(b), will be
                due on April 14, 2020. This period will satisfy any abatement period under the
                DTPA.

             d. Instead of filing seven separate motions to dismiss, Defendants intend to file two
                separate motions to dismiss, one by the Manufacturing Defendants2 and one by the
                PBM Defendants.3 Defendants have filed an unopposed motion with the Court for
                leave to exceed the 25-page limitation for those joint motions. See ECF No. 34.

             e. Plaintiff’s response to Defendants’ responsive filings will be due June 29, 2020.

             f. Defendants’ replies in support of their responsive filings will be due July 29, 2020.

             g. Except as may be ordered by the Court, discovery in this action will be stayed
                pending resolution of any motions to dismiss filed by Defendants.

        2.      The Parties’ proposed discovery stay renders impractical the meaningful

completion of a proposed Discovery/Case Management Plan and a Scheduling/Docket Control

Order by the March 27, 2020 deadline in the Court’s Order of February 27, 2020, ECF No. 21.

Accordingly, the Parties further request that the present deadline for the submission of both be

vacated and that the submission deadline be the fourteenth day following the date on which the

final order resolving the Defendants’ forthcoming motions to dismiss is entered.

        3.      Good cause for entry of an Agreed Order consistent with the foregoing exists

because it will assuage the various stresses occasioned by the COVID-19 pandemic and will

facilitate an efficient and economical resolution of this action.




2
 The Manufacturing Defendants are Eli Lilly and Company, Novo Nordisk, Inc., and Sanofi-Aventis U.S.
3
 The Pharmacy Benefit Manager Defendants are Express Scripts Holding Company, Express Scripts, Inc., ESI Mail
Pharmacy Services, Inc., Express Scripts Pharmacy, Inc., CVS Health Corporation, Caremark Rx, LLC, Caremark
LLC, Caremark Texas Mail Pharmacy, LLC, Optum, Inc., OptumRx Inc., Aetna Rx Home Delivery, LLC, and Aetna
Pharmacy Management Services.
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       WHEREFORE, premises considered, the Parties respectfully request that this motion be

granted and that the Court sign and enter the proposed Agreed Order for Continuance which was

filed concurrently herewith.

                                                  Respectfully submitted,

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                                      Certificate of Service

        I certify that on this 24th day of March, 2020, the foregoing was served by email and/or by
electronic filing service on all counsel of record.


                                             /s/ Bryce L. Callahan
                                             Bryce L. Callahan


                                   Certificate of Conference

       I certify that on the 24th day of March, 2020, the parties conferred and agreed that the
foregoing motion should be filed and that the requested relief should be granted.


                                             /s/ Bryce L. Callahan
                                             Bryce L. Callahan
